             Case 1:18-cv-00013 Document 1-1 Filed 04/10/18 Page 1 of 2



                                                                                         FILED
Hiroaki Nishio                                                                              Clerk
P.O BOX 5325CHRB                                                                        District Court
Saipan,MP 96950
Tel: (670) 287-0464                                                                            &
Email hiroaki230(~gmail.com
                                                                              for the Northern Mar-~r~ ~
                                                                              By
Pro Se Plaintiff

IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN MARIANA ISLANDS


Hiroaki Nishio                   )                                                         ~ jS
                                 )          Civil Case No.:
         Plaintiff               )          COMPLAINT AND DEMAND FOR JURY TRAIL
                                 )
           vs.                   )
                                 )
SAIPAN INTERNATIONAL             )
AIRPORT                          )
(COMMONWEALTH PORTS              )
AUTHORITY)                       )
                                 )
          Defendant              )




       Plaintiff Hiroaki Nishio brings forth the following causes of action and allegaes the
following:


    1. Plaintiff is an indvidual and resident of Saipan, USA.
    2. Defendent is Commonwealth Ports Authority and at time of this compaint resident of
       Saipan, USA.
    3. On or about July 11, 2011 Plaintiff was reqired ten million doller insurance for any
       operation and prohibitit flight operation by Commoonwealth Ports Authorty.
    4. On or about March 23, 2013 Plaitiff filed formal complaint to Commonweaith Ports
       Authority in Office of the Chief Counsel FAA Part 16 Airport Proceeding Docket, ACO- 100
       Federal Aviation Administration, 800 Independence Ave., WS., Washingtion DC 20591.
    5. On or March 29, 2013 FAA Office of the Chief Counsel had docketed as Docket No.16-13-
       03. Under Title 14, Part 16 of the code of Federal Regurations. (“14 CFR Partl6”).
    6. On or April 29, 2016 Federal Aviation Administration Directer fund that the Commonwealth
       Ports Authority is in violation of Federal law, which is ten million dollars aircraft liability
       insurance requirement is unresonable, and therefore unjustly discriminatory to to the
       Complainant,s flight training-only opreration in violation of Grant Assurance 22, Economic
       Nondiscrimination and 49 U.S.C. 47 107(a).

                                          Complant- 1
            Case 1:18-cv-00013 Document 1-1 Filed 04/10/18 Page 2 of 2




   7. On or November 23, 2016 Byron Huffman ,the FAA acting director of Airport Compliance
      and Management Analysis Federal Aviation, has determined the Commonwealth Port
      Authority is requiring insurance amount that are unreasonable and unjustly discriminatory of
      airplanes that operate at the Francisco C.Ada/Saipan international Airpot.


       Plaintiff brings forth the following counts and allegations supporting Commonwealth Port
Authority cause of action.


                                  Count 1- Negligenece


          Commonweaith Port Authority’s ten million dollers aircraft liability insurance
          requirment is unreasonable and unjustly discriminatory to the Complaiant in violating of
          Grant Assurance 22, Economic Nondiscrimination and 49 U.S.C. 47 107(a).

                                  Count 2- Negligenece


           Commonweailth Port Authority,s interpetation and application of its published aircraft
           liability insurance reqirements is unreasonable, and therefore unjustly discriminatory to
           the Plaintiff,s Flight training-oniy operation inviolation of Grant Assurance 22, ecnomic
           Nondiscrimination and 49 U.S.C. 47107 (a).



                                             Damages


          Wherefore Plainiff seeks compensatory damages in the amount one million dollars,
attoney fees, and cort costs.




                                                         Dated This ~ day of April, 2018




                                                                 Hiroaki Nishio




                                           Complaint-2
